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 1                                                        Magistrate Judge Michelle L. Peterson
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                         AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                          NO. MJ20-569
11
                             Plaintiff,
                                                          COMPLAINT FOR VIOLA nON
12
                       v.                                 18 U.S.C. § 844(e)
13
14    KYLE ROBERT TORNOW,
15                           Defendant.
16
17
            BEFORE, Michelle L. Peterson, United States Magistrate Judge, U.S. Courthouse,
18
     Seattle, Washington.
19
            The undersigned complainant being duly sworn states:
20
                                             COUNT 1
21                            (Threat to Damage and Destroy Building)
22
            On or about July 24, 2020, in Seattle, within the Western District of Washington,
23
     the defendant, KYLE ROBERT TORNOW, through the use of an instrument of interstate
24
     and foreign commerce, and in and affecting interstate and foreign commerce, willfully
25
     made a threat to damage and destroy a building unlawfully by means of fire and an
26
     explosive.
27
            All in violation of Title 18, United States Code, Section 844( e).
28
      COMPLAINT/TORNOW       - I                                               UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      USAO #2020R00781                                                         SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
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 1           The undersigned complainant, Katherine Murphy, being duly sworn, further
 2 deposes and states as follows:
 3                                      INTRODUCTION
 4           1.    I am a Special Agent with the Federal Bureau ofInvestigation        (FBI). As
 5 such, I am a "federal law enforcement officer" within the meaning of Federal Rule of
 6 Criminal Procedure 41 (a)(2)(C), that is, a Government agent engaged in enforcing the
 7 criminal laws. I have been a Special Agent with the FBI for approximately two and a
 8 half years.
 9           2.    I am currently assigned to the Seattle Field Office where I am assigned to
10 investigate domestic terrorism matters. During my service with the FBI, I have
11 investigated and participated in the investigations of criminal activity, including but not
12 limited to: crimes against persons, crimes against property, and conspiracy against civil
13 rights. During these investigations, I have participated in the execution of search
14 warrants and the seizure of evidence indicating the presence of criminal violations. As an
15 FBI Agent, I have also conducted or participated in physical surveillance, debriefings of
16 informants, and reviews of records and recordings. From these experiences, and from
17 related training, I have become familiar with the ways in which persons coordinate, carry
18 out, and conceal criminal activity. Additionally, I have completed training in
19 investigating the use of computer systems and email in the commission of criminal
20   activity.
21           3.    This affidavit is made based upon my personal knowledge, training,
22   experience and investigation, as well as upon information provided to me and my review
23   of reports prepared by other law enforcement personnel. This affidavit is made for the
24 purpose of establishing probable cause for this Complaint and thus does not include each
25   and every fact known to me concerning this investigation.
26                              SUMMARY OF PROBABLE CAUSE
27           4.    The City of Portland uses a system called TrackIT that enables members of
28 the public to create a user account via the internet through the system's website, and
      COMPLAINT/TORNOW     -2                                               UN1TED STATES       ATTORNEY
                                                                           700 STEW ART STREET, SUITE 5220
      USAO #2020R0078I
                                                                            SEATTLE,   WASHINGTON     98101
                                                                                   (206)   553-7970
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 1 submit messages to the Portland Police Bureau. When a user submits a message, the
 2 message is assigned a unique item number, and contains the information such as name,
 3 phone number, and email address that was provided when the user created their account.
 4 On July 24, 2020, at 1:02 a.m., TrackIT Item 1859649 was submitted through the City of
 5 Portland's TrackIT system. According to the TrackIT system, the following identifiers
 6 were tied to the user that submitted the item:
 7          Contact: Chester Wildwood
            PortlandOnline User
 8
            400 Broad S
 9          SEATTLE, WA 98109
            Day: 206-937-3963
10
            dark56korbit@yahoo.com
11
            5.    The TrackIT item contained the following message:
12
            Subject: War with citizens
13
14          Message:
15          I am going to bomb a police precinct in Portland, OR. The bomb is already
16          in place and has been packaged in a way that prevents detection from
            canine officers. Unless your officers disengage your war with the citizens
17          of Portland I will blow up this precinct. You are weak. We are strong, many
18          and fluid in nature. If I am caught, others will take my place and
            immediately detonate the bomb. This is a felony threat. Please take this
19          seriously to avoid death.
20
            6.    The message was sent during a period of reoccurring civil disorder in
21
     Portland.
22
            7.     Officers performed open source internet searches for the email address
23
     dark56korbit@yahoo.com.     Officers discovered a Yahoo Answers thread that contained
24
     this email address, along with the name KYLE TORNOW. According to Yahoo records,
25
     this email address was created by KYLE TORNOW in Seattle, Washington, in June
26
     2005. Yahoo records show that the account is linked to phone number 206-495-1966.
27
     According to Verizon Wireless records, the subscriber for this phone number is KYLE
28
      COMPLAINT/TORNOW    -3                                               UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      USAO #2020R00781                                                      SEATTLE. WASHINGTON 981 01
                                                                                  (206) 553·7970
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 1 TORNOW. In addition, according to LexisNexis database records, the phone number is
 2 associated with not only KYLE TORNOW, but also "Chester Wildwoo," a name similar
 3 to one used by the sender of the TrackIT message, "Chester Wildwood."
 4         8.     As stated above, the user associated with the TracklT message listed a
 5 phone number of 206-937-3963.      According to CenturyLink records, this phone number
 6 is subscribed to Robert Tornow, KYLE TORNOW's father.
 7         9.     The City of Portland's web server log related to the TrackIT submission
 8 indicated the user's IP address was 75.172.138.139.    Based on my training and
 9 experience, I know that a server log is a log file automatically created and maintained by
lOa   server consisting of a list of activities it performed. Subscriber records obtained from
11 CenturyLink show that the IP address was registered at the time of the TrackIT
12 submission to Robert Tornow at a West Seattle residence that Robert shares with KYLE
13 TORNOW. Based on these facts, I believe that the TrackIT item was submitted from an
14 electronic device while connected to internet service at the West Seattle residence.
15         10.    KYLE TORNOW has had arrests for harassment, theft ofa motor vehicle,
16 and drugs. I located a publicly viewable Facebook account for KYLE TORNOW. The
17 public version of his Facebook account contains the following post:
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21
22
23
24
25
26
27
28
      COMPLAINT/TORNOW    -4                                                UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
      USAO #2020R00781
                                                                             SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
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 1                                                                                        Kyle Robert Tornow
                                                                                                 o
 2
 3                 au e c re ul ou he e
                                                                                                      ,¢ Share
 4                and follow black leadership.
                  Anarchy does not
 5                mean chaos it

 6                care 8. support

 7
 8

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            11.     I know from my training and experience that a solid black flag bearing a
18
     white "A" within a circle is a symbol of anarchist extremism specifically associated with
19
     black bloc violent ideology. Black bloc anarchist extremists believe the use of violent
20
     acts and threats are the only means of forcing their political and social change on the
21
     government and society.
22
            12.     On September 2, 2020, I spoke with KYLE TORNOW outside his
23
     residence. He admitted to sending the bomb threat.
24
25
26
27
28
      COMPLAINT/TORNOW        -5                                             UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
      USAO #2020R00781
                                                                              SEATTLE, WASHrNGTON 98101
                                                                                     (206) 553-7970
           Case 2:20-mj-00569-MLP Document 1 Filed 09/02/20 Page 6 of 6




 1                                       CONCLUSION
 2         13.    Based on the foregoing, I respectfully submit that there is probable cause to
 3 believe that KYLE TORNOW committed the crime of Threat to Damage and Destroy a
 4 Building, in violation of Title 18, United States Code, Section 844(e).
 5
 6
 7
                                                      KATHERINE MURPHY, Complainant,
 8
                                                      Special Agent, FBI
 9
          The above-named agent provided a sworn statement attesting to the truth of the
10
11 contents of the foregoing affidavit by telephone on this _ day of September, 2020. The
12 Court hereby finds that there is probable cause to believe the Defendant committed the
13 offense set forth in the Complaint.

14
           Dated this __    day of September, 2020.
15
16
17
                                                      MICHELLE L. PETERSON
18
                                                      United States Magistrate Judge
19
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21
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27
28
     COMPLAINT/TORNOW      -6                                                UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     USAO #2020R00781
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
